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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

                                CASE NO.:19-cv-01159-PGB-TBS


DAVID LORENZO CRUZ,

        Plaintiff,

v.

KAI JIE INC,
d/b/a Crystal Buffet Hibachi & Grill
a Florida Corporation,
FA RONG ZHANG, individually

        Defendants.
                                                  /


              PLAINTIFF’S MOTION FOR ENTRY OF CLERK’S DEFAULT

        Plaintiff, David Lorenzo Cruz (“Plaintiff”), files this Motion for Entry of Clerk’s Default

against Defendant, Fa Rong Zhang. (“Zhang”), and in support states as follows:

     1. On June 21, 2019, Plaintiff filed an action against Defendant, Zhang for violations of the

overtime and minimum wage provisions of the Fair Labor Standards Act (“FLSA”) [DE 1].

     2. On November 7, 2019, Zhang was served with a copy of the Summons and Complaint [DE

32].

     3. Zhang was required to respond to the Complaint by November 27, 2019, but to date has

failed to do so.

     4. As a result, Plaintiff moves for a clerk default against Zhang.
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          WHEREFORE, Plaintiff, David Lorenzo Cruz, respectfully requests the Clerk to enter a

default against Defendant, Fa Rong Zhang, and for such further relief as this Court deems just and

proper.

                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was electronically filed

with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served

on all counsel of record, either via transmission of Notices of Electronic filing generated by

CM/ECF or in some other authorized manner for those counselor parties who are not authorized

to receive electronically Notices of Electronic Filing, this 3rd day of December 2019.

                                                            By: /s/ Monica Espino
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